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THE WESTON FIRM

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UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

 

STEVE ALTES, on behalf of himself
and all others similarly situated,

Plaintiff,

PLAINTIFF’S CLRA VENUE AFFIDAVIT
Vv.

CONAGRA BRANDS, INC.,

 

Defendant.

 

 

 

 

PLAINTIFF’S CLRA VENUE AFFIDAVIT

 
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‘| I, Steve Altes, declare under penalty of perjury as follows:

1. I am the plaintiff in this action. I make this affidavit pursuant to California
Civil Code Section 1780(d).

2: The Complaint is filed in the proper place for the trial of this action because
I purchased the La Choy noodles, as pictured and described in the complaint, several
times during the class period in Los Angeles County.

I declare under penalty of perjury of the laws of the United States that the

foregoing is true and correct.

 

 

Executed on April 25, 2018 in V a| tn eh Se , California.
Steve Altes
1

 

PLAINTIFF’S CLRA VENUE AFFIDAVIT

 

 
